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  NOT FOR PUBLICATION


                                       UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW JERSEY



  ANN LEWANDOWSKI, on her own behalf,
  on behalf of all others similarly situated, and
  on behalf of the Johnson & Johnson Group
  Health Plan and its component plans,
                                                                         Civil Action No. 24-671 (ZNQ) (RLS)
                                  Plaintiff,
                                                                                          OPINION
                                  v.

  JOHNSON AND JOHNSON, et al.,

                                  Defendants.


  QURAISHI, District Judge

             THIS MATTER comes before the Court upon a Motion to Dismiss filed by Defendants

  Johnson and Johnson and the Pension & Benefits Committee of Johnson and Johnson (collectively,

  “Defendants”) (the “Motion,” ECF No. 51.) Defendants submitted a Brief in support of their

  Motion. (“Moving Br.,” ECF No. 52.) Plaintiff Ann Lewandowski, individually, and on behalf

  of all others similarly situated (hereinafter, “Plaintiff”), filed a Brief in Opposition (“Opp’n Br.,”

  ECF No. 55), to which Defendants submitted a Reply (“Reply Br.,” ECF No. 59). The Court has

  carefully considered the parties’ submissions and decides the Motion without oral argument

  pursuant to Federal Rule of Civil Procedure 78 and Local Civil Rule 78.1.1 For the reasons set

  forth below, the Court will GRANT-IN-PART and DENY-IN-PART the Motion.




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      Hereinafter, all references to Rules refer to the Federal Rules of Civil Procedure unless otherwise noted.


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  I.       BACKGROUND AND PROCEDURAL HISTORY2

           This case arises from various alleged breaches of fiduciary duties and other violations of

  the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1001-1461, stemming

  from purported mismanagement of prescription drug benefits for Johnson and Johnson’s

  employees who were participants in its health benefit plans. (Am. Compl. ¶ 3, ECF No. 44.)

  Plaintiff, individually and on behalf of a proposed class,3 seeks (1) damages to enforce Defendants’

  liability under 29 U.S.C. § 1109 and “to make good to the plans and their participants and

  beneficiaries,” and (2) an injunction enjoining Defendants from breaching their fiduciary duties.

  (Id. ¶ 11.)

           A.       FACTUAL BACKGROUND

           Johnson and Johnson is a medical technologies and pharmaceutical company that sponsors

  the Salaried Medical Plan and Salaried Retiree Medical Plan (the “Plans”) for its current and

  former employees. (Id. ¶ 14.) Plaintiff is a former employee of Johnson and Johnson and is a

  current participant in the Plans. (Id. ¶ 12.) The Pension & Benefits Committee of Johnson and

  Johnson is the administrator of the Plans. (Id. ¶ 16.)

           As alleged, “Defendants breached their fiduciary duties and mismanaged Johnson and

  Johnson’s prescription-drug benefits program, costing their ERISA plans and their employees

  millions of dollars in the form of higher payments for prescription drugs. . . higher premiums . . .

  higher deductibles . . . higher coinsurance . . . [and] higher copays.” (Id. ¶ 3.) By way of example

  of a higher payment for prescription drugs, Plaintiff cites the pricing of a generic drug for multiple




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    For the purposes of considering this Motion, the Court accepts all factual allegations in the Complaint as true. See
  Phillips v. County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008).
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    The proposed class is defined as: “All persons who were participants in or beneficiaries of any of the Plans from the
  beginning of the statute of limitations period through judgment in this matter (the “Class Period”). (See Am. Compl.
  ¶ 222.)


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  sclerosis, for which the Plan pays substantially more than large retail pharmacies charge without

  insurance. (Id.) Plaintiff alleges that “[n]o prudent fiduciary would agree to make its plan and

  participants/beneficiaries pay a price that is two-hundred-and-fifty times higher than the price

  available to any individual who just walks into a pharmacy and pays out-of-pocket.” (Id.

  (emphasis in original)). Plaintiff cites in the Amended Complaint to other large discrepancies in

  the Plans’ pricing for certain “specialty” drugs, both branded and generic. (Id. ¶ 5.) Plaintiff says

  no prudent fiduciary would have agreed to these terms. (Id. ¶ 6.) Instead of using more reasonable,

  “cost-effective” options for its participants, Defendants “force[d] its benefits plans and covered

  employees and retirees to acquire drugs via some of the most expensive methods conceivable.”

  (Id. ¶ 9.)

          More specifically, Plaintiff, through the Amended Complaint, targets generic drugs,

  alleging that “Defendants imprudently managed the Plans’ generic drug program, and failed to act

  in the best interest of participants/beneficiaries and ensure that expenses were reasonable” for its

  participants and beneficiaries. (Id. ¶ 91). Plaintiff cites examples of drugs that were subject to a

  significant markup. (See, e.g., id. ¶¶ 104, 106, 108, 110, 112, 114, 118, 119, 120, 121.) It includes

  a detailed chart illustrating how much the Plans paid for a selection of forty-two drugs as compared

  to a pharmacy acquisition cost. (Id. ¶ 116.)

          Plaintiff also accuses Defendants of mismanagement insofar as they (1) agreed to steer

  beneficiaries towards a mail-order pharmacy that charges higher prices than retail pharmacies for

  the same drug, (id. ¶ 129), (2) failed to incentivize the use of high-priced branded drugs in favor

  of lower-priced generic drugs, (id. ¶ 135), (3) failed to engage in a prudent and reasoned decision

  making process before agreeing to a PBM contract that required participants to pay a higher price

  for drugs, (id. ¶ 139), and (4) failed to adequately negotiate the Plans for lower prices, (id. ¶ 140).




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         With respect to Plaintiff herself, Plaintiff alleges that since August 2022, she has filled

  prescriptions for several generic non-specialty drugs and has been subject to significant cost

  markups for those drugs, simply because she was a participant in the Plans. (Id. ¶¶ 124, 125.)

  Plaintiff asserts she paid more in premiums and paid more for drugs than she would have paid

  absent Defendants’ alleged fiduciary breaches and other ERISA violations. (Id. ¶ 190.) For

  example, the Amended Complaint states that Plaintiff paid $303.68 for a generic drug, when that

  drug was also available from stores like Rite Aid and Wegmans for approximately $90.00. (Id. ¶

  198; see also id. ¶ 199.) Furthermore, Plaintiff alleges that until Defendants’ breaches are cured,

  Plaintiff will be required to pay more in premiums in the future. (Id. ¶¶ 196, 201.)

         B.      PROCEDURAL HISTORY

         Plaintiff filed her initial Complaint on February 5, 2024. (ECF No. 1.) Defendants

  submitted a Motion to Dismiss (ECF No. 40), that was later withdrawn in light of the filing of an

  Amended Complaint. (ECF No. 44.) Thereafter, Defendants filed the instant Motion on June 28,

  2024. (ECF No. 51.)

  II.    SUBJECT MATTER JURISDICTION

         This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29 U.S.C. § 1132(e)

  and (f) because Plaintiff brings this action pursuant to ERISA.

  III.   DISCUSSION

         The Amended Complaint contains three counts. First, Plaintiff alleges that Defendants

  breached their fiduciary duties under 29 U.S.C. §§ 1104(a) and 1132(a)(2). (See generally Am.

  Compl.) Second, Plaintiff alleges that Defendants breached their fiduciary duties in violation of

  29 U.S.C. §§ 1104(a) and 1132(a)(3). (Id.) Third, Plaintiff alleges that Defendants failed to

  provide documents upon request in violation of 29 U.S.C. §§ 1024(b)(4) and 1132(c). (Id.)




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           In the Motion, Defendants challenge both Plaintiff’s standing and the adequacy of her

  pleading. Insofar as Plaintiff’s standing is a jurisdictional issue, the Court considers this issue first.

  Ballentine v. United States, 486 F.3d 806, 810 (3d Cir. 2007).

           A.       Whether to Dismiss Counts One and Two for Lack of Standing

           The Motion challenges Plaintiff’s standing on the basis that she does not allege a concrete

  harm or injury-in-fact. In Defendants’ view, Plaintiff fails to allege that she was improperly denied

  benefits under the plan; she simply claims the drug prices were too expensive. (Moving Br. at 8.)

  More specifically, Defendants argue that Plaintiff fails to meet the constitutional standing

  requirements for Counts One and Two because (1) those claims show no personal harm to Plaintiff,

  (2) Plaintiff did not suffer any injury from the prescription drug costs, and (3) there are no

  allegations that Plaintiff was prescribed any of the generic specialty drugs that she claims are too

  expensive. (Id. at 12, 21.) Defendants also argue that Plaintiff did not “suffer any injury from the

  prices of prescription drugs obtained under the prescription drug benefit because she would have

  paid the exact same amount in total out-of-pocket costs each year she has participated in the Plan,

  regardless of the cost of the drugs. (Id. at 18.)

           Plaintiff argues that the Amended Complaint properly alleges that she has standing because

  the Plans’ overpayments were passed to her in the form of monthly payments that were higher than

  they would have been but for Defendants’ breach. (Opp’n Br. at 1.) In terms of injuries, she cites

  her allegations that she paid more in monthly premiums and paid greater out-of-pocket expenses.

  (Id. at 13 (citing Am. Compl. ¶¶ 75, 139, 190–95, 198–200), 15, 19)).4 Plaintiff responds to




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   Defendants refute this argument in its Reply, noting that Plaintiff cannot rely on an “alleged injury from non-fiduciary
  conduct (setting premiums) to conjure up standing for fiduciary claims,” and any connection between her premiums
  and the alleged breaches are speculative. (Reply Br. at 1.) Defendants also claim that Plaintiff “paid the same out-of-
  pocket amount each year that she would have paid even if the Plan’s PBM had agreed to charge $0 for prescription
  drugs.” (Id.)


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  Defendants’ argument that she received what she was entitled by pointing out that this is a suit for

  breach of fiduciary duties not for denial of benefits. (Id.) Plaintiff maintains that she suffered a

  concrete injury once she was overcharged for her first prescription, (id. at 20), and that her standing

  is not limited to the drugs she purchased because Defendants’ breach of their duty resulted in plan-

  wide overcharges.5

                    1.       Legal Principles

           Article III of the United States Constitution confines the federal judicial power to the

  resolution of “Cases” and “Controversies.” U.S. Const. Art. III. For there to be a case or

  controversy under Article III, the plaintiff must have a “‘personal stake’ in the case—in other

  words, standing.” TransUnion v. Ramirez, 594 U.S. 413, 423 (2021) (quoting Raines v. Byrd, 521

  U.S. 811, 820 (1997)). To have standing, a plaintiff must show, (1) that he or she suffered an

  injury in fact that is concrete, non-hypothetical, particularized, and actual or imminent; (2) that the

  injury was likely caused by the defendant; and (3) that the injury would likely be redressed by

  judicial relief. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992). In order “[t]o

  establish [an] injury-in-fact, a plaintiff must show that he or she suffered an invasion of a legally

  protected interest.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (internal quotations omitted).

  “For an injury to be particularized, it must affect the plaintiff in a personal and individual way.”

  Id. The plaintiff, as the party invoking federal jurisdiction, bears the burden of establishing these

  elements as to each claim. FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 (1990).6



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    In its Reply, Defendants argue that simply because Plaintiff reached her maximum out-of-pocket limit earlier than
  she otherwise would have does not amount to standing because the lost time value of money is not a cognizable injury-
  in-fact. (Reply Br. at 8.)
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    “In the context of a class action, Article III must be satisfied by at least one named plaintiff.” Neale v. Volvo Cars
  of N. Am., 794 F.3d 353, 359 (3d Cir. 2015); see also O’Shea v. Littleton, 414 U.S. 488, 494 (1974) (“[I]f none of the
  named plaintiffs purporting to represent a class establishes the requisite of a case or controversy with the defendants,
  none may seek relief on behalf of himself or any other member of the class.”).



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         “In addition to having Article III standing, an ERISA plaintiff must also have statutory

  standing.” Edmonson v. Lincoln Nat’l Life Ins. Co., 725 F.3d 406, 419 (3d Cir. 2013). “Statutory

  standing is simply statutory interpretation,’ and [courts] ask whether the remedies provided for in

  ERISA allow the particular plaintiff to bring the particular claim.” Id. (quoting Graden v.

  Conexant Sys. Inc., 496 F.3d 291, 295 (3d Cir. 2007)).

         When a party challenge standing, the Court’s analysis depends on whether the challenge is

  based on a “factual attack” or a “facial attack.” Mortensen v. First Fed. Sav. & Loan Ass’n, 549

  F.2d 884, 891 (3d Cir. 1977). “[A] facial attack ‘contests the sufficiency of the pleadings,’

  ‘whereas a factual attack concerns the actual failure of a [plaintiff’s] claims to comport [factually]

  with the jurisdictional prerequisites.’” Constitution Party of Pa. v. Aichele, 757 F.3d 347, 358 (3d

  Cir. 2014) (quoting CNA v. United States, 535 F.3d 132, 139 (3d Cir. 2008)). Here, Defendants’

  argument that Plaintiff did not “suffer any injury from the prices of prescription drugs obtained

  under the prescription drug benefit because she would have paid the exact same amount in total

  out-of-pocket costs each year she has participated in the Plan, regardless of the cost of the drugs,”

  (id. at 18), is a factual challenge because such an argument challenges Plaintiff’s standing based

  on facts outside the pleading rather than the sufficiency of the pleading itself. Defendants’

  remaining arguments are facial attacks that challenge the ability of the allegations in the Amended

  Complaint to support Plaintiff’s Article III standing.

                 2.      Analysis

         For the reasons set forth below, the Court finds that Plaintiff lacks Article III standing to

  pursue her claims under Counts One and Two. Plaintiff’s alleged injuries are that she suffered

  economic harms in the form of higher premiums and out-of-pocket costs. Although economic

  harms are the “most obvious concrete harms,” TransUnion, 594 U.S. at 425, Plaintiff’s alleged

  injuries fail to meet the requirements for Article III standing. The Court will first address


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  Plaintiff’s alleged injury of paying higher premiums, and then continue with whether her out-of-

  pocket losses support Article III standing.

                         a)     Injury in the form of higher premiums

         A plaintiff suing for breach of fiduciary duty under ERISA § 502(a)(2) does so as a plan

  representative and hence must identify an injury to the Plan and seek relief that “inures to the

  benefit of the plan as a whole.” Smith v. Medical Benefit Admin, Group, Inc., 639 F.3d 277, 282–

  83 (7th Cir. 2011) (citing Massachusetts Mut. Life Ins. Co. v. Russell, 473 U.S. 134, 140 (1985));

  Varity Corp. v. Howe, 516 U.S. 489, 515 (1996) (Section 502(a)(2) “does not provide a remedy

  for individual beneficiaries”). However, plaintiffs who themselves have not suffered an injury in

  fact cannot assert standing as plan representatives based on injuries to the plan. See Thole v. U.S.

  Bank N.A., 590 U.S. 538 (2020) (finding plaintiffs had no standing to sue as representatives of the

  plan because “in order to claim the interests of others, the litigants themselves still must have

  suffered an injury in fact”); see Perelman v. Perelman, 793 F.3d 368, 375–76 (3d Cir. 2015)

  (rejecting plaintiff’s claim that he need not prove individualized injury insofar as he seeks

  monetary equitable remedies in a “derivative” capacity on behalf of plan).

         ERISA § 502(a)(3) is a “catchall” provision that “authorizes lawsuits for individualized

  equitable relief for breach of fiduciary obligations.” Varity, 516 U.S. at 490. “[C]laims demanding

  a monetary equitable remedy [under § ERISA 502(a)(3)] . . . require the plaintiff to allege an

  individualized financial harm traceable to the defendant's alleged ERISA violations.”           See

  Perelman, 793 F.3d at 373.

         Here, Plaintiff has not suffered an injury-in-fact by alleging that “[h]arms to

  participants/beneficiaries have taken the form of higher premiums, higher deductibles, higher

  coinsurance, higher copays, and lower wages or limited wage growth.” (Am. Compl. ¶¶ 190. 233.)

  Such an injury, at best, is speculative and hypothetical. In Knudsen v. MetLife Grp., Inc., 117


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  F.4th 570 (3d Cir. 2024), the Third Circuit determined whether a plaintiff had standing when she

  alleged that MetLife’s illegal conduct caused her to “pay higher out-of-pocket costs, mainly in the

  form of insurance premiums.” Id. at 573. In that case, while the Third Circuit cautioned against

  reading Thole and Perelman broadly as to “categorically bar an ERISA plaintiff’s assertion of

  injury based on increased out-of-pocket costs,” the court of appeals nevertheless held that the

  plaintiff lacked standing because such claims alleging that there is injury in the form of higher

  premiums or periodic payments are entirely speculative. Id. at 578–79.

         Knudsen is both controlling and dispositive. Accordingly, the Court similarly finds that

  Plaintiff’s alleged injury—that she paid more in premiums due to Defendants’ purported breach

  of fiduciary duty during the negotiation process of the Plans—does not support Article III standing

  because the “outcome of th[e] suit would not affect [Plaintiff’s] future benefit payments.” See

  Thole, 590 U.S. at 561. That is, the allegations about higher premiums are speculative and “stand

  on nothing more than supposition.” Finkelman v. Nat’l Football League, 810 F.3d 187, 201 (3d

  Cir. 2016). Plaintiff alleges that she pays premiums “equivalent to 102% of the combined

  employer and employee contributions for similarly situated individuals under the Plans,” without

  any allegation or evidence of premiums on other plans or that Defendants’ specific conduct

  resulted in the higher premiums. (See Am. Compl. ¶ 12.) Every mention in the Amended

  Complaint that Plaintiff paid more in premiums is a conclusory allegation that does not meet the

  requirements for Article III standing. (See e.g., id. ¶¶ 139, 190, 194.) Because the Court finds that

  Plaintiff lacks Article III standing, it does not reach ERISA standing.

         Accordingly, in light of the Third Circuit’s decision in Knudsen, the Court finds that

  Plaintiff lacks standing to raise Counts One and Two on the basis of her alleged payment of higher

  insurance premiums.




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                         b)      Injury in the form of out-of-pocket costs for medication

         Plaintiff next claims that she suffered an injury-in-fact by paying higher prices for drugs

 under the Plans, thus, causing her to pay more out-of-pocket. More specifically, the Amended

 Complaint alleges that Plaintiff was (1) charged $303.68 for a drug available for $90.50, (Am.

 Compl. ¶ 198), (2) charged $18.72 for a drug available for $6.38, (id. ¶ 199), and (3) charged

 $37.19 for a drug available for $14.28. (Id. ¶ 200.) The Amended Complaint also states that

 Plaintiff has taken additional financial burdens to save money as a result of Defendants’ breaches,

 (id. ¶ 217), and that Plaintiff has received fourteen prescriptions for generic drugs that were marked

 up by 230.05 percent above pharmacy acquisition costs. (Id. ¶¶ 6, 199.)

         It is clear to the Court based on these allegations that Plaintiff has suffered an injury-in-

 fact that is traceable to Defendants’ alleged ERISA violations. See Knudsen, 117 F.4th at 580

 (noting that courts “need only apply ordinary Article III standing analysis to determine whether

 ERISA plaintiffs have standing.” (internal quotation marks and citations omitted)); see also

 TransUnion, 594 U.S. at 425 (“The most obvious [concrete harms] are traditional tangible harms,

 such as physical harms and monetary harms. If a defendant has caused physical or monetary injury

 to the plaintiff, the plaintiff has suffered a concrete injury in fact under Article III.”); Czyzewski v.

 Jevic Holding Corp., 580 U.S. 451, 464 (2017) (“For standing purposes, a loss of even a small

 amount of money is ordinarily an ‘injury.’”). In plain terms, when Plaintiff spent more money on

 drugs at the pharmacy, which was allegedly the result of Defendants’ breach of fiduciary duties,

 Plaintiff suffered a cognizable injury.

         Notwithstanding, for the reasons set forth below, the Court finds that Plaintiff herself lacks

 standing based on this injury because it is not redressable by an order from this Court. See Lujan,

 504 U.S. at 560–61 (noting that to have standing, a plaintiff must show, (1) that he or she suffered

 an injury in fact that is concrete, non-hypothetical, particularized, and actual or imminent; (2) that


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 the injury was likely caused by the defendant; and (3) that the injury would likely be redressed by

 judicial relief). The redressability prong of the standing analysis “looks forward” to determine

 whether “the injury will be redressed by a favorable decision.” Toll Bros., Inc. v. Twp. of

 Readington, 555 F.3d 131, 138 (3d Cir. 2009) (quoting Friends of the Earth, Inc. v. Laidlaw Env’t.

 Servs., Inc., 528 U.S. 167, 181 (2000)). “Redressability is not a demand for mathematical

 certainty,” but it does require “a ‘substantial likelihood’” that the injury-in-fact can be remedied

 by a judicial decision. Id. at 143 (quoting Vt. Agency of Natural Res. v. U.S. ex rel. Stevens, 529

 U.S. 765, 771 (2000)).

          Plaintiff’s injury is not redressable because, as Defendants raise in their factual challenge

 to her standing, she has reached her prescription drug cap for each year she asserts in the Amended

 Complaint. In straightforward terms, a favorable decision would not be able to compensate

 Plaintiff for the money she already paid. Even if Defendants were to reimburse Plaintiff for her

 out-of-pocket costs on a given drug—that is, the higher amount of money she spent as a result of

 Defendants’ breaches—that money would be owed to her insurance carrier to reimburse it for its

 expenditures on other drugs that same year. In short, there is nothing the Court can do to redress

 Plaintiff’s alleged injury.7

          In conclusion, the Court will GRANT Defendant’s Motion as to Counts One and Two.

 Because the Court finds that Plaintiff lacks standing to bring Counts One and Two, the Court need

 not reach whether the Amended Complaint states a claim under Rule 12(b)(6) for those counts.

 Counts One and Two will therefore be dismissed without prejudice.




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   The Court expresses no opinion as to the standing of a hypothetical plaintiff in the same situation who has not reached
 its annual out-of-pocket cap for expenditures.


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         B.      Whether to Dismiss Count Three for Failure to State a Claim

         Count Three asserts a claim for failure to provide documents under 29 U.S.C. §§ 1024(b)(4)

 and 1132(c). Defendants argue that Count Three should be dismissed because it does not

 adequately state a disclosure claim under ERISA insofar as it does not allege that Plaintiff made a

 written request for the documents. (Moving Br. at 25.) Plaintiff maintains that she states a claim

 because Defendants failed to timely provide documents after she repeatedly requested them in

 writing, and Plaintiff made a typewritten request through an online portal for the documents.

 (Opp’n Br. at 37–38.)

                 1.      Legal Principles

         Generally, Rule 8(a)(2) “requires only ‘a short and plain statement of the claim showing

 that the pleader is entitled to relief,’ in order to ‘give the defendant fair notice of what the . . . claim

 is and the grounds upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

 (alteration in original) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957) (abrogated on other

 grounds)).

         A district court conducts a three-part analysis when considering a motion to dismiss

 pursuant to Rule 12(b)(6). Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011). “First, the court

 must ‘tak[e] note of the elements a plaintiff must plead to state a claim.’” Id. (alteration in original)

 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009)). Second, the court must accept as true all of

 the plaintiff’s well-pled factual allegations and “construe the complaint in the light most favorable

 to the plaintiff.” Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) (citation omitted).

 The court, however, may ignore legal conclusions or factually unsupported accusations that merely

 state the defendant unlawfully harmed the plaintiff. Iqbal, 556 U.S. at 678 (citing Twombly, 550

 U.S. at 555). Finally, the court must determine whether “the facts alleged in the complaint are

 sufficient to show that the plaintiff has a ‘plausible claim for relief.’” Fowler, 578 F.3d at 211


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 (quoting Iqbal, 556 U.S. at 679). A facially plausible claim “allows the court to draw the

 reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 210 (quoting

 Iqbal, 556 U.S. at 663). On a Rule 12(b)(6) motion, the “defendant bears the burden of showing

 that no claim has been presented.” Hedges v. United States, 404 F.3d 744, 750 (3d Cir. 2005)

 (citing Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d 1406, 1409 (3d Cir. 1991)).

                2.      Analysis

        Section 502(c)(1)(B) of ERISA provides a statutory penalty of up to $100 a day on “[a]ny

 administrator . . . who fails or refuses to comply with a request for any information which such

 administrator is required by this subchapter to furnish to a participant or beneficiary . . . by mailing

 the material requested within [thirty] days after such request. . . .” 29 U.S.C. § 1132(c)(1)(B).

 Upon receiving a written request from any participant or beneficiary, an administrator “shall . . .

 furnish a copy of the latest updated summary, plan description, and the latest annual report, any

 terminal report, the bargaining agreement, trust agreement, contract, or other instruments under

 which the plan is established or operated.” 29 U.S.C. § 1024(b)(4).

                [T]o state a claim under § 502(c)(1) of ERISA, a plaintiff must
                allege that 1) it made a [written] request to a plan administrator, 2)
                who was required to provide the requested material, but 3) failed to
                do so within 30 days of the request. As a penal statute, the terms of
                § 502(c)(1) must be construed strictly, and thus, a plaintiff seeking
                relief under § 502(c)(1) must demonstrate compliance with each of
                these statutory requirements.

 Plastic Surgery Ctr., P.A. v. Cigna Health and Life Ins. Co., Civ. No. 17-2055, 2018 WL 2441768,

 at *9 (D.N.J. May 31, 2018) (alteration in original) (citation and internal quotation marks omitted).

        Here, Plaintiff has plausibly alleged a failure to provide documents claim. The Amended

 Complaint states that “[o]n December 20, 2023, Plaintiff sent a typewritten request through the

 Alight online portal messaging system established by Defendants, asking that all plan documents,

 including the ‘General/Administrative Information Plan Details’ document, be mailed to her.”


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 (Am. Compl. ¶ 204.) The Amended Complaint then provides that Defendants “received and

 accepted Plaintiff’s request,” (id. ¶ 205), and “after this lawsuit was filed—counsel for Defendants

 belatedly sent Plaintiff’s counsel the ‘General/Administrative Information Plan Details’ document,

 but no other documents.” (Id. ¶ 207.) Plaintiff then sent another written letter to counsel on

 February 20, 2024 that requested:

                   “all instruments under which the Salaried Medical Plan is
                   established or operated, including the formal plan document(s), all
                   documents constituting the summary plan description, the latest
                   annual report, and any other document falling within the terms of §
                   1024(b)(4).” The letter also requested “all instruments under which
                   the Johnson & Johnson Group Health Plan is established or
                   operated, including the master plan document, all documents
                   constituting the full summary plan description, the latest annual
                   report, and any other document falling within the terms of §
                   1024(b)(4).”

 (Id. ¶ 208.) According to the Amended Complaint, Defendants “failed to timely and completely

 comply with Plaintiff’s written requests for documents.” (Id. ¶ 245.)

        The Court finds that these allegations support a claim that a written request from a

 participant or beneficiary was made, and that Defendants failed to respond within thirty days. (See

 id. ¶ 246 (Defendants “only belatedly provided Plaintiff with the ‘General/Administrative

 Information Plan Details’ document on February 19, 2024, more than 30 days after [Plaintiff]

 initially requested it and only after this suit was filed.”)). As such, the Court finds that Plaintiff

 has stated a claim under ERISA 502(c). See McDonough v. Horizon Blue Cross Blue Shield of

 New Jersey, Inc., Civ. No. 09-571, 2011 WL 4455994, at *7 (D.N.J. Sept. 23, 2011) (noting that

 a plaintiff must allege two essential elements to establish a violation of the duty to provide

 requested documents: that the plaintiff made a written request, and that the defendant failed to

 respond to the request within thirty days); see also Kollman v. Hewitt Assoc., 487 F.3d 139, 144

 (3d Cir. 2007).



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           Accordingly, the portion of Defendants’ Motion seeking to dismiss Count Three of the

 Amended Complaint will be DENIED.

 IV.       CONCLUSION

           For the reasons stated above, the Court will GRANT-IN-PART and DENY-IN-PART

 Defendants’ Motion (ECF No. 51). Counts One and Two will be dismissed without prejudice for

 lack of Article III standing. Plaintiff will be given leave to file a Second Amended Complaint

 within 30 days to address the deficiencies identified in this Opinion. An appropriate Order will

 follow.



 Date: January 24, 2025

                                                     s/ Zahid N. Quraishi
                                                     ZAHID N. QURAISHI
                                                     UNITED STATES DISTRICT JUDGE




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